
BARFIELD, J.
In this appeal from an order of restitution following the appellant’s adjudication of delinquency based on charges of burglary and petit theft, we find no abuse of discretion in the trial court’s decision to order $27 as restitution for the loss of stolen beer and gin, included in the charge of petit theft. However, as the state properly concedes, the trial court erred as a matter of law in awarding restitution for the loss of stolen jewelry which was not mentioned in the charging document. No-land v. State, 734 So.2d 464 (Fla. 5th DCA 1999).
The restitution order is REVERSED and the case is REMANDED to the trial court with instructions to enter a corrected order of restitution which does not include values for the jewelry.
DAVIS and LEWIS, JJ., concur.
